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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MONTANA
                              GREAT FALLS DIVISION


MARK MCGREW,                                    Case No. 4:20-cv-00056-BMM

         Plaintiff,
                                                       ORDER OF DISMISSAL
vs.

WAL-MART STORES, INC.,

         Defendant.


      This matter comes before the Court on the Stipulation to Dismiss with Prejudice.

The Court, being fully advised in the premises, finds and orders as follows:

      IT IS HEREBY ORDERED that the lawsuit filed herein is dismissed with prejudice.

      IT IS HEREBY FURTHER ORDERED that the parties shall each bear their own

costs and attorneys' fees.

      Dated this 27th day of October 2020.




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